ON CERTIORARI.Oil suit for several penalties, a general verdict for amount of one, without designating which, is error,Tompkists, the defendant in this Court, who was the plaintiff below, brought an action qui tam before the Justice, against the plaintiff in this Court, for three several penalties of $30 each, under the general election law; and the act authorizing an election in the county of Essex, for fixing on a site for a Court-house. This was tried by a jury, who found a general verdict for the plaintiff for $30 ; on which judgment was rendered by the Justice.moved the Court to reverse the judgment of the Justice, on this ground: that the declaration of the plaintiff below was for three several distinct penalties, arising from three several distinct offences; and the jury in rendering their verdict, had not found the defendant guilty of either of them, but found generally for the plaintiff $30. That even if this was to be considered as finding the defendant guilty on one of the offences, which, however, he thought could not be, yet the jury had not designated [*] which offence the defendant was guilty of; and, therefore, a judgment could not be rendered against him for any particular or specific penalty. The Court being of that opinion, Reversed the judgment.Other objections were urged against the judgment, which it is unnecessary to enumerate.